
313 F.Supp.2d 874 (2004)
Debra KEACH and Patricia Sage, Plaintiff,
v.
U.S. TRUST COMPANY, N.A., f/k/a/ U.S. Trust Company of California, N.A., Ellen D. Foster, as Executrix of the Estate of Thomas S. Foster and as Co-Trustee of the Thomas S. Foster Trust executed on April 14, 1994, The Northern Trust Company, an Illinois Corporation, as Co-Trustee of the Thomas S. Foster Trust executed on April 14, 1994, Melvin R. Regal, individually, as trustee or agent of the Steven Jay Regal Trust, as trustee or agent of the Judi Lynn Regal Trust, and as trustee or agent of the John E. Regal Trust, A. Robert Pellegrino, Valuemetrics, Inc., Houlihan, Lokey, Howard &amp; Zukin, Inc., Robert A. Ostertag, Jr., Terry P. Cole, Alan R. Dix, Jon D. Elletson, Stephen P. Bartley, Lyle T. Dickes, James N. Freid, Dale Fujimoto, William J. Gehring, Henry R. Gregory II, John F. Halpin, Richard S. Hodgson, James H. Kyle, John Lappegaard, Gregory K. Mcallister, George Mckittrick, Michael F. Norbutas, Clayton Patino, Jerry L. Rathmann, Frederick J. Stuber, W. Thomas Stumb, Mark Swedlund, Leo A. Vandervlugt, Robert J. Wilson, Bruce B. Wright, and Ashley Anne Foster, as trustee or agent of the Ashley Anne Foster Irrevocable Trust, Defendants.
No. 01-1168.
United States District Court, C.D. Illinois, Peoria Division.
March 4, 2004.
Dean B. Rhoads, Robert Rhode, Edward Sutkowski, Steven Oates, Sean Anderson, Sutkowski &amp; Rhoads, Peoria, IL, for Plaintiffs Debra Keach and Patricia Sage.
Timothy Bertschy, Heyl, Royster, Voelker &amp; Allen, Peoria, IL, Robert Eccles, Shannon M. Barrett, O'Melveny &amp; Myers LLP, Washington, DC, for Defendant, U.S. Trust Company, NA, fka U.S. Trust Company of California.
Joseph Z. Sudow, Kavanagh Scully Sudow White &amp; Frederick, Peoria, IL, Trent P. Cornell, Duane Morris LLC, Chicago, IL, for Defendant, Ellen D. Foster, Executrix of the Estate of Thomas S. Foster and *875 as Co-Trustee of the Thomas S. Foster Trust executed on 4/14/94.
Michael T. Graham, Nancy Ross, McDermott Will &amp; Emery, Chicago, IL, for Defendants, Ellen D. Foster, Executrix of the Estate of Thomas S. Foster and as Co-Trustee of the Thomas S. Foster Trust executed on 4/14/94, and The Northern Trust Company, an Illinois Corporation as Co-Trustee of the Thomas S. Foster Trust executed on 4/14/94.
Richard J. Pautler, Jennifer Baetje, Thompson &amp; Coburn, St. Louis, MO, for Defendants, Robert A. Ostertag, Jr., Terry P. Cole, Alan R. Dix, Jon Elletson, A. Robert Pellegrino.
James Bailey, Paul Ondrasik, Jr., Steptoe &amp; Johnson, Washington, DC, Roy Davis, David Lubben, Davis &amp; Campbell LLC, Peoria, IL, for Defendants, Valuemetrics, Inc.
Mark Casciari, Ian Hugh Morrison, Sari M. Alamuddin, Seyfarth Shaw, Chicago, IL, for Defendant, Houlihan, Lokey, Howard &amp; Zukin, Inc.
Charles Roth, James Springer, Kavanagh Scully Sudow White &amp; Frederick, Peoria, IL, for Defendants, Ellen D. Foster, Executrix of the Estate of Thomas S. Foster and as Co-Trustee of the Thomas S. Foster Trust executed on 4/14/94, Stephen P. Bartley, Dale Fujimoto, and Michael Norbutas, Frederick Stuber, and for Defendant Ashley Anne Foster, as trustee or agent of the Ashley Anne Foster Irrevocable Trust, and Melvyn R. Regal, individually, as trustee or agent of the Steven Jay Regal Trust, as trustee or agent of the Judi Lynn Regal Trust, and as trustee or agent of the John E. Regal Trust.
Stephen Gay, Jeffrey Alan Ryva, Husch &amp; Eppenberger LLC, Peoria, IL, for Defendant, Lyle Dickes.
Jeffrey Rock, Hasselberg Rock Bell &amp; Kuppler, Peoria, IL, for Defendants, James Freid and Richard Hodgson.
John Elias, Robert Riffle, Cynthia Elias, Elias Meginnes Riffle &amp; Seghetti, Peoria, IL, for Defendants, William Gehring, Henry Gregory, Ii, John F. Halpin, James Kyle, John Lappegaard, George Mckittrick, Clayton Patino, Jerry Rathmann, W. Thomas Stumb, Mark Swedlund, Leo Vanderlugt, Robert Wilson, Bruce Wright.
Dean Essig, Washington, IL, for Defendant, Gregory McAllister.
Joseph Sudow, Kavanagh Scully Sudow White &amp; Frederick, Peoria, IL, for Defendants, Michael Norbutas, Frederick Stuber, and for Defendant Ashley Anne Foster, as trustee or agent of the Ashley Anne Foster Irrevocable Trust, and Melvyn R. Regal, individually, as trustee or agent of the Steven Jay Regal Trust, as trustee or agent of the Judi Lynn Regal Trust, and as trustee or agent of the John E. Regal Trust.

ORDER
MIHM, District Judge.
The Court having received no objections from Plaintiffs responding to the Court's docket entry of February 18, 2004, it is hereby Ordered that the remaining claims against the ESOP Administrative Committee Defendants and Parties in Interest Defendants are moot and said claims are dismissed with prejudice.
The clerk is directed to enter judgment against Plaintiffs and in favor of all Defendants, plus costs of suit.
